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 7
 8                                 UNITED STATE DISTRICT COURT
 9                               EASTERN DISTRICT OF CALIFORNIA
10                                                     )   Case No. 1:12-CR-00349-LJO
     UNITED STATES OF AMERICA,                         )
11                                                     )   STIPULATION AND ORDER FOR A
                   Plaintiff,                          )   RESETTING OF HEARING ON REPORT
12                                                     )   OF PROBATION OFFICER
     v.                                                )
13                                                     )
     JOSE ARELLANO,                                    )
14                                                     )
                   Defendants.                         )
15                                                     )
                                                       )
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18           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and

19 the defendant by and through his attorney, that the date set for hearing on the presentence report of
20 the probation officer and sentencing be extended as follows:
21                 Defense Counsel’s Informal objections due to Probation and AUSA:
22                 Move from September 23, 2013 to September 30, 2013

23                 Formal Objections must be filed with the Court and served on
                   Probation and AUSA: move from October 7, 2013 to October 15,
24                 2013.
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26                 RPO Hearing: move from 8:30 a.m. on October 15, 2013 to 8:30
                   a.m. on October 21, 2013.
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           The reason for moving the hearing is due to a combination of an extraordinary amount of
 1
 2 time expended in the capital prosecution of U.S. v. Guerrero, Case No.: 1:08-CR-00259-PMP,
 3 numerous trips to southern California relating to the care of my elderly mother and to allow further
 4 negotiations with the government concerning their recommendations for an appropriate sentence.
 5                                                          Respectfully submitted,
 6
 7
 8 DATED: September 23, 2013                                 /s/ Salvatore Sciandra
                                                            SALVATORE SCIANDRA
 9                                                          Attorney for Defendant,
10                                                          JOSE ARELLANO

11
12 DATED: September 23, 2013                                 /s/ Kimberly A. Sanchez
                                                            KIMBERLY A. SANCHEZ
13                                                          Assistant United States Attorney
14
                                                            This was agreed to in person on Sept. 23, 2013
15
16                                                    ORDER
17
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20 IT IS SO ORDERED.
21      Dated:                   September 24, 2013           /s/ Lawrence J. O’Neill
                                                        UNITED STATES DISTRICT JUDGE
22         DEAC_Signature-END:




23         b9ed48bb

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